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CLE‘iK U.S. pinner COUHT
_v. 2:04cR-20387-02-D W/D OF in :li&MPHiS

ORTHAL STONE
Mam( McAfeel CJA
Defensa Attorney
246 Adams Ave.
Memphis, TN 38103

 

JUDGMENT IN A CR|M|NAL CASE
(For Offenses Commltted On or After November 1, 1987)

The defendant pleaded guilty to Counts 1 & 3 of the indictment on March 28, 2005.
Accordinglyl the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Titie & section MMM Offense wells
Conc|uded
18 u.s.C. §§ 1028(3)(7) and 2 identity Tneft 04/29»'2003 1
13 u.s.c. §§ 1028(3)(7) and 2 identity Tneft 05/05/2003 3

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 03/30/1968 July 28, 2005
Deft’s U.S. Marsha| No.: 19892-076

Defendant's Nlailing Address:
7751 Parkmont Dr.
N|emphis, TN 38125

Tth document entered on the docket

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with Flule 55 and/or32(b) FRCrP on

     
 

BERNlCE B. DONALD
UN|TED STATES D|STR|CT JUDGE

Julyéz ,2

 

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PROBAT|ON

The defendant is hereby placed on probation for a term of 3 Years with the
condition of eight (8) months home detention.

While on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons. The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). |f this judgment imposes a fine cr a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1 . The defendant shall not leave thejudiciai district without the permission of the court or probation officer;

2. The defendant shall report to the probation ocher as directed by the court or probation officer and shall
submit a truthful and complete written report within the nrst Hve days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation ofticer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation ocher for
schooling. training. or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician. and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminai activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofncer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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10.

11.

12.

13.

The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics and shall permit
the probation ofncer to make such notifications and to confirm the defendant's compliance with such
notification requirement

if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal Monetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall participate in the Home Detention program for a period
of 8 Months. During this time, defendant will remain at defendant’s place of
residence except for employment and other activities approved in advance
by the Defendant’s Probation Officer. Defendant will be subject to the
standard conditions of Home Detention adopted for use in the Westem
District of Tennessee, which may include the requirement to wear an
electronic monitoring device and to follow electronic monitoring procedures
specified by the Probation Ofncer. Further, the defendant shall be
required to contribute to the costs of services for such monitoring not
to exceed an amount determined reasonable by the Probation Officer.

2. The defendant shall participate in substance abuse testing and treatment
programs as directed by the Probation Ofncer.

3. The defendant shall be prohibited from incurring new credit charges,
opening additional lines of credit, or making an obligation for any major
purchases without approval of the Probation Officer.

4. The defendant shail provide the Probation Ofncer access to any requested
financial inforrnation.

5. The defendant shall be required to make third party risk notifications as
directed by the Probation Officer.

6. The defendant shall seek and maintain full-time, verifiable employment as
directed by the Probation Officer.

7. The defendant shall cooperate with DNA collection as directed by the
Probation Officer.

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CR|M!NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgmentl pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Total Assessment Total Fine Total Restitution
$200.00 $1500.00 $1141.62

The Special Assessment shall be due immediately.

F|NE
A Fine in the amount of $ 1500.00 is imposed.

REST|TUT|ON

Restitution in the amount of $1141.62 is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed below.

Priority
Total Amount of Order
Name of payee Amount Restitution Ordered or
w Percentage
of Payment
Community Mortgage $1141.62 $1141.62
Corporation,

lf the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

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SCHEDULE OF PA¥MENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties
shall be due as foilows:

E. Special instructions regarding the payment of criminal monetary penalties:

Defendant shall pay restitution in regular monthly installments of not less than 10%
ofgross month|yincome. interest requirement is waived. Defendant is to notify the
Court and the United States Attorney of any material change in economic
circumstances that may affect the defendants ability to pay restitution.

Un|ess the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons' inmate Financial Responsibiiity Program, are made to the clerk of the
court unless otherwise directed by the courtl the probation officer, or the United States attomey.

The defendant shall receive credit for ali payments previously made toward any criminal monetary
penalties imposed.

Joint and Severai
Defendant Name. Case Number, and Joint and Severai Amount:

Chermika McMillan, 2:04CR20387-0‘|, $1,141.62

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 69 in
case 2:04-CR-20387 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

EdWin A. Perry

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Honorable Bernice Donald
US DISTRICT COURT

